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                                                                                                    United States District Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                                                                                                      November 16, 2015
                                UNITED STATES DISTRICT COURT
                                                                                                      David J. Bradley, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

VAN CARTER,                                              §
                                                         §
           Plaintiff,                                    §
VS.                                                      §     CIVIL ACTION NO. 2:14-CV-469
                                                         §
MCCONNELL UNIT, et al,                                   §
                                                         §
           Defendants.                                   §

                        ORDER DENYING PLAINTIFF/APPELLANT’S
                        MOTION FOR APPOINTMENT OF COUNSEL

        Plaintiff/Appellant is an inmate in the Texas Department of Criminal Justice.

Proceeding pro se, he filed a civil rights action pursuant to 42 U.S.C. § 1983. (D.E. 1).

On April 14, 2015, the case was summarily dismissed as frivolous upon screening

pursuant to 28 U.S.C. §§ 1915(e)(2) and 1915A. (D.E. 28). Final Judgment was entered

on April 14, 2015. (D.E. 27).               Plaintiff/Appellant filed a notice of appeal on June 1,

2015. (D.E. 36). Plaintiff/Appellant had failed to pay the appellate filing fee and was

given until July 27, 2015, to either pay the filing fee or file a motion to proceed in forma

pauperis. (D.E. 40).           On July 2, 2015, Plaintiff/Appellant’s appeal was dismissed for

want of prosecution for failing to pay the filing fee. (D.E. 41).1



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 The dismissal of the appeal occurred before Plaintiff/Appellant’s deadline to pay the appellate filing fee or file a
motion to proceed ifp. Plaintiff/Appellant was subsequently granted leave to appeal in forma pauperis, but this
occurred after the appeal was dismissed. Plaintiff/Appellant did not move to reinstate his appeal. It appears
Plaintiff/Appellant’s appeal has been dismissed and there are no matters in this action pending before the Fifth
Circuit Court of Appeals at this time.


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       Pending is Plaintiff/Appellant’s motion for appointment of counsel. (D.E. 45). No

constitutional right to appointment of counsel exists in civil rights cases. See Baranowski

v. Hart, 486 F.3d 112, 126 (5th Cir. 2007); Akasike v. Fitzpatrick, 26 F.3d 510, 512 (5th

Cir. 1994) (per curiam). A district court is not required to appoint counsel unless

“‘exceptional circumstances’” exist. Cupit v. Jones, 835 F.2d 82, 86 (5th Cir. 1987)

(quoting Jackson v. Dallas Police Dep’t, 811 F.2d 260, 261 (5th Cir. 1986) (per curiam)).

The Fifth Circuit has enunciated several factors that the Court should consider in

determining whether to appoint counsel:

              (1) the type and complexity of the case; (2) whether the
              indigent is capable of adequately presenting his case; (3)
              whether the indigent is in a position to investigate adequately
              the case; and (4) whether the evidence will consist in large
              part of conflicting testimony so as to require skill in the
              presentation of evidence. The court should also consider
              whether appointed counsel would aid in the efficient and
              equitable disposition of the case.

Jackson, 811 F.2d at 262 (citing Ulmer v. Chancellor, 691 F.2d 209, 213 (5th Cir. 1982));

accord Norton v. Dimazana, 122 F.3d 286, 293 (5th Cir. 1997). Upon consideration of

the factors set forth in Jackson, the Court finds that appointment of counsel is not

warranted. Plaintiff’s case was dismissed by the District Court as frivolous and the Fifth

Circuit has dismissed the appeal. There are currently no matters before this Court or the

Fifth Circuit. Even if Plaintiff/Appellant were able to re-open his appeal, he has not

shown that appointment of counsel is warranted.

       For the foregoing reasons, Plaintiff/Appellant’s motion for appointed counsel,

(D.E. 45), is DENIED.


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       It is further ordered that Plaintiff shall not file further motions or documents in the

District Court without first obtaining leave of Court. Failure to comply with this order

will result in those motions being struck.

       ORDERED this 16th day of November, 2015.


                                              ___________________________________
                                                           Jason B. Libby
                                                    United States Magistrate Judge




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